                              United States District Court
                            Western District of North Carolina
                                   Statesville Division

 APRIL BALLARD EDWARDS,                 )            JUDGMENT IN CASE
                                        )
               Plaintiff,               )              5:20-cv-00190-MR
                                        )
                  vs.                   )
                                        )
 KILOLO KIJAKAZI, Acting                )
 Commissioner of Social Security,       )
                                        )
              Defendant.                )

DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s October 26, 2021 Order of Remand.

                                               October 26, 2021




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